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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 2:17-CV-14302-ROSENBERG/MAYNARD

 DENNIS MCWILLIAMS,
 LORI MCWILLIAMS,

        Plaintiffs,

 v.

 NOVARTIS AG, a global healthcare company,
 NOVARTIS PHARMACEUTICALS CORPORATION,
 a Delaware corporation,

       Defendants.
 __________________________________________________/

        ORDER DIRECTING THE CLERK OF THE COURT TO CLOSE THIS CASE

        This cause is before the Court on the parties’ Mediation Report. See DE 116. The Court has
 been informed that the parties have reached a settlement agreement. Having been informed that the
 parties are in agreement and have resolved all disputes, it is hereby ORDERED AND
 ADJUDGED:
        1.      This case is STAYED.

        2.      All pending deadlines are TERMINATED, all pending motions are DENIED AS
                MOOT, and all hearings are CANCELLED.

        3.      The parties are instructed to file any appropriate pleadings related to the dismissal of
                this action within thirty (30) days of the date of rendition of this Order.

        4.      Any party may move for the stay imposed by this Order to be lifted or for an
                extension of time to file appropriate pleadings related to the dismissal of this action.
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           5.         The Clerk of the Court is directed to CLOSE THIS CASE FOR STATISTICAL
                      PURPOSES; this closure shall not affect the merits of any party’s claim.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 8th day of August,

 2018.

                                                     _______________________________
                                                     ROBIN L. ROSENBERG
                                                     UNITED STATES DISTRICT JUDGE
 Copies furnished to Counsel of Record
